
Green, J.
delivered the opinion of the court.
In this case, it is not questioned that if the defendant caused and permitted his slaves to go about the country in such a state of nakedness, as is alledged in the indictment, he is guilty of lewdness, andought to be punished; but it is insisted that the evidence does not support the indictment. It is true that the witnesses do not prove that the defendant, by any act or command of his, required the female slave to exhibit herself so destitute of clothes, as she is described by the witnesses to have been; but as she was seen upon several occasions in this state of nakedness, and other times with garments greatly tattered and torn, it might be inferred by the jury, that the master withheld from her the clothing necessary to cover her, and if so, by requiring her to perform labor for him in the field, he caused her to go about in this naked condition. If she had been entirely stripped, it would have been more probable that the act was voluntary on her part, but as she had dirty rags, the remains of garments, banging about her, and was frequently seen in this situation, we cannot say the jury did wrong in finding that her master caused and permitted the existence of these facts.
Let the judgment be affirmed,
